FD-1057 (Rev. 5-8-10) 2 2 nw

FEDERAL BUREAU OF INVESTIGATION

Electronic Communication

ee
eporcting cLOper

@Alsadagahsyria

Date: 10/09/2018

 

  
   

 

Drafted By: OC

Synopsis: To document the online activities of oc
October 4, in the investigation of Telegram user @Alsadagahsyria

 

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. ae Reporting EC, October 4,

2018

1e following items: |
Le oe Telegram chat 10/4/2018 with @Alsadagqahsyria

 

 

a ONLINE ACTIVITY

ci October 4, 2018, ee initiated a Telegram conversation
1 lsadagahsyria (ID 5167 ‘

I subject
to contact Telegram
esire to travel to

    
   
  
  

    
  
   

Georgianna Anna Maria Giampietro {
user @Alsadagahsyria in reference
Syria

  

A complete archive of the conversation between a and
@Alsadagahsyria is attached a Below is an excerpt of

the conversation:

@ALSADAQAHSYRIA SAYS HIJRAH IS STILL POSSIBLE

ca ae greeted @Alsadagqahsyria and told him he was given his
so who could help brothers and sisters making hijra
(emigtration to Syria). oc asked if @Alsadagahsyria could give

advice and guide oc sadagahsyria replied:
"Okay inshallah, know who the brother who gave me contact was.

inshallah i can help with your questions.”

aes eae commented that it was "Umm Roses” (Telegram moniker
GS P who gave @Alsadagahsyria's name to im wife

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oi Reporting EC, October 4,

2018
adahsyria if he had helped people make
nd if it was still possible to do so. @Alsadaqahsyria

  
    

1jranh before
replied:

"Yes akhi. You can but safest to wait. There isn't any fighting
at the moment. So you will be doing not much. Mainly guard
duty. 5 or 7 days a month. The rest you at home unless you
have other skills."

@ALSADAQAHSYRIA CONFIRMS HE CAN GET PEOPLE FROM TURKEY TO SYRIA

— asked if @Alsadagahsyria could get oc and his
fe “across" if they made it to Turkey. @Alsadaqahsyria replied:

"Yes i can. Inshallah."

—— commented he had talked to ‘another brother' who had
mentioned 1t was very difficult to cross now and that a should
wait. @Alsadagahsyria stated:

"It depends bro. Look. It's important you have a cover story."

"Get Turkish visa. Message some charitys. Ask you want to
volunteer. Make it look like your an aid worker. Then you have a
good defence.”

a= a asked for clarification on why he needed a good
a ed if @Alsadagahsyria was referencing in case a

   

was stopped by Turkish authorities. @Alsadaqahsyria replied:
"Yea. Also if you get stoped you have evidence to support your
StOry: %

  
  

a aa asked @Alsadagahsyria if he could contact him in the
uture shou e have more questions. @Alsadagahsyria consented and

oa terminated the conversation and wiped the secret chat.

 

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